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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO



Civil Action No. 21-CV-00796-MEH

UNITED STATES OF AMERICA,

              Plaintiff,

v.

1.     121 ASH ROAD, BASALT, COLORADO,
2.     APPROXIMATELY $77,888,782.61 HELD AND FROZEN IN MIRABAUD BANK
       ACCOUNT #509951,

              Defendants.


                      NOTICE OF COMPLAINT FOR FORFEITURE


       YOU ARE HEREBY NOTIFIED that the United States of America (“the United

States”) filed the attached Verified Complaint for Forfeiture In Rem (“Verified

Complaint”), seeking forfeiture of the above defendant assets. (Doc. 1).

       If you wish to contest the forfeiture and assert an interest in any of the defendant

assets, you must file a Claim with the Court by June 10, 2021. Pursuant to Rule G(5) of

the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,

any Claim filed must:

              (1)     identify the specific property claimed;

              (2)     identify the claimant and state the claimant’s interest in the

                      property; and

              (3)     be signed by the claimant under penalty of perjury.
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       Even if you have previously filed a claim and/or otherwise contested the forfeiture

of the assets in this case by sending documentation to the Internal Revenue Service-

Criminal Investigation, you must file a new claim in this civil forfeiture case to prevent

entry of default.

       Within 21 days after filing a Claim, you must file an Answer to the Verified

Complaint with the Court.

       In addition to filing a Claim and an Answer, you must indicate whether you

consent to the jurisdiction of a United States magistrate judge in this civil forfeiture case.

If you consent, you must complete and file the attached Magistrate Judge Consent

Form with the Court no later than: (1) seven days before the scheduling conference, if

any, or (2) 45 days after the filing of the first response, other than an answer, to the

operative complaint, whichever is earlier. (Doc. 4).

       File your Claim, Answer, and Magistrate Judge Consent Form with the Court,

and provide copies of same to the Assistant United States Attorney, to the addresses

listed below:



       Clerk of the United States District Court        Tonya S. Andrews
       901 19th Street                                  Assistant United States Attorney
       Denver, Colorado 80294                           United States Attorney’s Office
                                                        1801 California St., Ste 1600
                                                        Denver, Colorado 80202


       Failure to file a timely Claim and Answer will result in default and forfeiture

of the defendant assets to the United States.
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      DATED this 6th day of May 2021.

                                        Respectfully submitted,

                                        MATTHEW T. KIRSCH
                                        Acting United States Attorney

                                        By: Tonya S. Andrews
                                        Tonya S. Andrews
                                        Assistant United States Attorney
                                        United States Attorney’s Office
                                        1801 California Street, Suite 1600
                                        Denver, Colorado 80202
                                        Telephone: 303-454-0100
                                        Fax: 303-454-0405
                                        Email: tonya.andrews@usdoj.gov
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                             CERTIFICATE OF SERVICE

     I hereby certify that on this 6th day of May 2021, true copies of the Notice of
Complaint for Forfeiture, Verified Complaint for Forfeiture In Rem, and Magistrate Judge
Consent Form with Instructions, were mailed via regular and Certified Mail to:

Henke Property, LLC
Registered Agent: Carl B. Linnecke
215 S. Monarch Street, Suite 101
Aspen, CO 81611
Cert No. 7020 0640 0002 1340 2658

Henke Holdings, LLC
Registered Agent: Carl B. Linnecke
215 S. Monarch Street, Suite 101
Aspen, CO 81611
Cert No. 7020 0640 0002 1340 2665

Robert T. Brockman
3465 Overbrook Lane
Houston, TX 77027
Cert No. 7020 0640 0002 1340 2672

Dorothy Brockman
3465 Overbrook Lane
Houston, TX 77027
Cert No. 7020 0640 0002 1340 2689

Jones Day
Attn: Kathryn Keneally
250 Vesey Street
New York, NY 10281
Cert No. 7020 0640 0002 1340 2696
Counsel for Robert T. Brockman

Padula Law Firm
Attn: Michael Padula
Courvoisier Centre II
601 Brickell Key Drive, Suite 700
Miami, FL 33131
Cert No. 7020 0640 0002 1340 2702
Counsel for Evatt Tamine

                                               s/ Jasmine Zachariah
                                               FSA Data Analyst
                                               U.S. Attorney’s Office
